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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA L . , a*-?;  - ,-
                                                               5 %I ,   j ; : 9 : 47
                                JACKSONVILLE DIVISION                                     #




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  UNITED STATES OF AMERICA,

  v.                                                           Case No. 3:05-cr-53-J-20MCR

  KENNETH LEE WILIC'ES
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                                              ORDER

         This cause is before this Court on Defendant's Motion for Jail Time Credit (Dkt. 570).

         In Defendant's motion, he alleges he is entitled to jail time credit while he is incarcerated

  from February 28, 2005, until March 9, 2006. While "[c]ourts have original jurisdiction over

  imposition of a sentence. The Bureau of Prisons is, however, responsible for computingthat sentence

  and applying appropriate good time credit." Gonzalez v. US., 959 F.2d 2 11,212 (1 1 th Cir. 1992).

  Therefore, the proper vehicle by which a defendant can challengethe Bureau ofPrison's withholding

  of good time credit is pursuant to 28 U.S.C. § 2241. Even if this Court were to construe the instant

  petition as a writ of habeas corpus, Defendant must first exhaust his administrative remedies.

  Skinner v. Wiley, 355 F.3d 1293, 1295 (1 lth Cir. 2004). Having failed to exhaust those remedies,

  Defendant's motion must be denied.

         Accordingly, it is ORDERED:

         Defendant's Motion for Jail Time Credit (Dkt. 570) is DENIED.

         DONE AND ORDERED at Jacksonville, Florida, this 3 4 day of November, 2008.
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